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 5 Attorney for:
   MAURICIO PORTILLO
 6

 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                     EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                             CASE NO. 11-CRS-096 JAM

11                                    Plaintiff,           STIPULATION REGARDING EXCLUDABLE
                                                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
12                            v.                           FINDINGS AND ORDER TO CONTINUE CASE
                                                           TO 9/23/14 AT 9:30 A.M.
13   MAURICIO PORTILLO,
     IRMA GONZALEZ
14                                    Defendants

15
                                                     STIPULATION
16
            Plaintiff United States of America, by and through its counsel of record, and defendant Mauricio
17
     Portillo, by and through his counsel of record, and defendant Irma Gonzalez, by and through her
18
     Counsel of Record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on August 5, 2014.
20
            2.      By this stipulation, defendant now moves to continue the status conference until
21
     September 22, 2014, and to exclude time between August 5, 2014, and September 23, 2014 at 9:30 a.m.,
22
     under Local Code T4. Plaintiff does not oppose this request.
23
            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)       Counsel for defendants and the Government desire additional time to investigate
25
            Mr. Portillo’s criminal history which is necessary to evaluate whether or not Mr. Portillo will
26
            qualify for safety valve, continue to conduct investigation, continue to engage in negotiations
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            with the Government in an effort to reach a plea agreement, and to otherwise prepare for trial. It
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      Stip. & [Proposed] Order Continuing Status Conf. &   1
      Excluding Time Periods Under Speedy Trial Act
                 Case 2:11-cr-00096-DC Document 289 Filed 08/04/14 Page 2 of 3


 1          should be noted that the Probation Department is assisting both Counsel in trying to resolve Mr.

 2          Portillo’s criminal history.

 3                  b)       Counsel for defendants believe that failure to grant the above-requested

 4          continuance would deny them the reasonable time necessary for effective preparation, taking into

 5          account the exercise of due diligence.

 6                  c)       The government does not object to the continuance.

 7                  d)       Based on the above-stated findings, the ends of justice served by continuing the

 8          case as requested outweigh the interest of the public and the defendant in a trial within the

 9          original date prescribed by the Speedy Trial Act.

10                  e)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11          et seq., within which trial must commence, the time period of August 5, 2014, to September 23 ,

12          2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

13          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

14          of the Court’s finding that the ends of justice served by taking such action outweigh the best

15          interest of the public and the defendant in a speedy trial.

16          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

17 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

18 must commence.

19

20          IT IS SO STIPULATED.

21 Dated: August 1, 2014                                       BENJAMIN B. WAGNER
                                                               United States Attorney
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23                                                             /s/ Paul Hemesath
                                                               PAUL HEMESATH
24                                                             Assistant United States Attorney

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      Stip. & [Proposed] Order Continuing Status Conf. &   2
      Excluding Time Periods Under Speedy Trial Act
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 1 Dated: August 1, 2014                                           /s/ Dina L. Santos
                                                                   DINA SANTOS, ESQ.
 2                                                                 Attorney for Mauricio Portillo

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 5 Dated: August 1, 2014                                           /s/ Don Masuda
                                                                   DON MASUDA, ESQ.
 6                                                                 Attorney for Irma Gonzalez
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13                                                           ORDER

14            IT IS SO FOUND AND ORDERED this 4th day of August, 2014

15                                                                       /s/ John A. Mendez

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                                                                   Hon. John A. Mendez
17                                                                 UNITED STATES DISTRICT COURT JUDGE

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        Stip. & [Proposed] Order Continuing Status Conf. &     3
        Excluding Time Periods Under Speedy Trial Act
